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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        RODRIGUEZ, et al.,
                                  10                                                        Case No. 20-cv-04688-RS
                                                       Plaintiffs,
                                  11
                                                v.                                          ORDER GRANTING IN PART AND
                                  12                                                        DENYING IN PART MOTION TO
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                                        GOOGLE LLC,                                         DISMISS
                                  13
                                                       Defendant.
                                  14

                                  15                                           I. INTRODUCTION

                                  16          Nine individual internet users (“plaintiffs”) accuse defendant Google LLC (“Google”) of

                                  17   violating one of the company’s public-facing privacy representations. Having secured a partial

                                  18   dismissal of plaintiffs’ First Amended Complaint (“FAC”), Google now moves to dismiss certain

                                  19   portions of their Second Amended Complaint (“SAC”). For the reasons set forth herein, the

                                  20   motion is granted in part and denied in part.

                                  21                                           II. BACKGROUND

                                  22          The parties are familiar with this controversy’s full factual history, see Order, Dkt. 109 at

                                  23   2-7 (setting it out in detail), which need not be recited here. For present purposes, three of the

                                  24   SAC’s new averments warrant mention.

                                  25          A. Breach of Contract

                                  26          In lieu of plaintiffs’ dismissed Wiretap Act claim, the SAC advances a state law claim for

                                  27   breach of contract. Like the one it replaces, this claim flows from Google’s alleged practice of

                                  28   (i) representing, in connection with its “Web & App Activity” (“WAA”) feature, that “[t]o let
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                                   1   Google save” information about his or her activity on “apps . . . that use Google services,” a user

                                   2   “must” turn WAA on, while (ii) collecting such information from users who have turned WAA

                                   3   off.

                                   4          Until at least March 2020, Google’s Terms of Service explicitly incorporated Google’s

                                   5   Privacy Policy. Google’s Privacy Policy, in turn, included the following statements:

                                   6          (i) “[A]cross our services, you can adjust your privacy settings to control what we
                                              collect and how your information is used.”
                                   7          (ii) “Our services include . . . [p]roducts that are integrated into third-party apps and
                                              sites, like ads[.]”
                                   8          (iii) “My Activity allows you to review and control data that’s created when you
                                   9          use Google services . . . . Go to My Activity.”
                                              (iv) “[W]hen you’re signed in to your Google Account and have [WAA] enabled,
                                  10          you can get more relevant search results . . . . You can learn more here.”

                                  11   Two phrases within these statements—“Go to My Activity” and “learn more here”—contained
                                  12   hyperlinks. The “Go to My Activity” hyperlink led to a page detailing WAA and various other
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                                  13   privacy controls. From that page, a user was two additional clicks away from the WAA Help Page,
                                  14   which contained this action’s central alleged misrepresentation (“[t]o let Google save this
                                  15   information . . . Web & App Activity must be on”). The hyperlink in the second phrase, “learn
                                  16   more here,” led directly to the WAA Help Page.
                                  17          B. Data Transmission Chronology
                                  18          The FAC characterized Google as transmitting users’ third-party app communications to
                                  19   its corporate servers in real time. See FAC, Dkt. 60 at ¶ 49 (“Google . . . intercepts the app user’s
                                  20   request for . . . content, surreptitiously copies that request, and then simultaneously transmits it to
                                  21   Google servers in California[.]”); id. at ¶ 245 (“The communications between Plaintiffs and apps
                                  22   were simultaneous to, but separate from, the channel through which Google illegally acquired the
                                  23   contents of those communications.”) (quotation marks and emphasis omitted). The SAC, by
                                  24   contrast, gives this process a chronologically distinct treatment: “Google . . . intercepts the app
                                  25   user’s request for . . . content, surreptitiously copies that request, and then while overriding device
                                  26   and account level controls simultaneously transmits the browsing data to Google servers in
                                  27   California[.]” SAC, Dkt. 113 at ¶ 49 (emphasis added).
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                                   1           C. AdMob, Cloud Messaging

                                   2           The FAC charged Google with improperly collecting data in two ways: through the Google

                                   3   Analytics for Firebase (“GA for Firebase”) product made freely available to third-party app

                                   4   developers as part of Google’s Firebase Software Development Kit (“Firebase”),1 and through

                                   5   “secret scripts” (i.e., undetectable lines of software code) hidden in Firebase by Google. The SAC

                                   6   abandons this latter, fraud-based theory, but names two new Google services—AdMob and Cloud

                                   7   Messaging for Firebase (“Cloud Messaging”)—as vehicles for Google’s supposed misconduct:
                                             Google still collects data from users who turn off the “Web & App Activity”
                                   8
                                             feature. Google collects this data through various backdoors made available
                                   9         through and in connection with Google’s Firebase Software Development Kit,
                                             including not only Google Analytics for Firebase but also without limitation
                                  10         AdMob and Cloud Messaging[.]
                                  11   SAC, Dkt. 113 at ¶ 6. Google does not dispute these services’ interoperability with Firebase.

                                  12                                        III. LEGAL STANDARD
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                                  13           A complaint must contain “a short and plain statement of the claim showing that the

                                  14   pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A motion to dismiss for failure to meet this

                                  15   standard may be based either on the “lack of a cognizable legal theory” or on “the absence of

                                  16   sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901

                                  17   F.2d 696, 699 (9th Cir. 1990). In other words, the complaint must contain “factual content

                                  18   allow[ing] the court to draw the reasonable inference that the defendant is liable for the

                                  19   misconduct alleged,” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009), and be “sufficiently detailed to

                                  20   give fair notice to the opposing party of the nature of the claim so that the party may effectively

                                  21   defend against it[.]” Sensible Foods, LLC v. World Gourmet, Inc., 2011 WL 5244716, at *3 (N.D.

                                  22   Cal. Nov. 3, 2011) (citing Starr v. Baca, 633 F.3d 1191, 1204 (9th Cir. 2011)).

                                  23

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                                         See Order, Dkt. 109 at 4 (“Best understood as a digital ‘toolkit,’ Firebase comprises eighteen
                                       distinct ‘tools,’ some of which an app creator must use to build and maintain an app, and others of
                                  25   which a creator may use. [GA for Firebase] falls into the second group: should an app developer
                                       elect to use it, GA for Firebase will automatically send various interactions between the app and
                                  26   its users (including the users’ URL requests, in-app browsing history, and in-app search queries)
                                  27   to Google, which will then present a clean, optimization-minded analysis of that data to the
                                       developer.”).
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                                   1                                             IV. DISCUSSION

                                   2           Of the five bases for relief in the SAC, Google’s motion targets two: breach of contract,

                                   3   and violation of section 631 of the California Invasion of Privacy Act (“CIPA”). Google

                                   4   additionally seeks dismissal of plaintiffs’ AdMob and Cloud Messaging allegations, arguing they

                                   5   do not convey “what AdMob and Cloud Messaging are, or how they support [p]laintiffs’

                                   6   theories.” See Mot., Dkt. 115 at 16. While Google is correct as to the breach of contract and CIPA

                                   7   § 631 claims, the AdMob and Cloud Messaging averments have been adequately pled.2

                                   8           A. Breach of Contract

                                   9           Plaintiffs’ breach of contract claim requires them to state “(1) the existence of a contract

                                  10   with [Google], (2) their performance under that contract, (3) [Google] breached that contract, and

                                  11   (4) they suffered damages.” In re Facebook, Inc. Internet Tracking Litigation (“In re Facebook”),

                                  12   956 F.3d 589, 610 (9th Cir. 2020). Attempting to make this showing, plaintiffs draw on Google’s
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                                  13   Privacy Policy and the WAA Help Page. Neither document is up to the task.

                                  14                  1. Privacy Policy

                                  15           The parties agree Google’s Terms of Service is an enforceable contract that, for the brunt

                                  16   of the class period, incorporated Google’s Privacy Policy. Consistent with this, plaintiffs mount

                                  17   their contractual breach claim atop a trio of Privacy Policy assertions:

                                  18           (i) “[A]cross our services, you can adjust your privacy settings to control what we
                                               collect and how your information is used.”
                                  19           (ii) “Our services include . . . [p]roducts that are integrated into third-party apps and
                                               sites, like ads[.]”
                                  20           (iii) “My Activity allows you to review and control data that’s created when you
                                  21           use Google services . . . . Go to My Activity.”

                                  22   Collapsing any distinction between “My Activity” (a hub containing multiple privacy controls)

                                  23   and WAA (one of those controls), plaintiffs insist that “a reasonable user could interpret these

                                  24   provisions to promise that My Activity (WAA) can be used to control the data that Google collects

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                                  26     Because the motion is granted as to plaintiffs’ breach of contract claim, there is no occasion to
                                       reach Google’s fallback request to strike those portions of the SAC dealing with breach of contract
                                  27   damages.

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                                   1   through Google’s services.” See Opp’n, Dkt. 121 at 19; see also id. at 21 (continuing to refer to

                                   2   “My Activity” as “My Activity (WAA)”). Yet as Google persuasively counters, the “My Activity”

                                   3   hub and WAA feature are distinct; and even assuming the Privacy Policy text singled out by

                                   4   plaintiffs imposes a contractual duty, that duty relates exclusively to the former. The question thus

                                   5   becomes: does the alleged misconduct contravene any “My Activity”-oriented promise made by

                                   6   the Privacy Policy?

                                   7          As a recent analogous case in this district illustrates, it does not. In In re Google Location

                                   8   History Litigation, plaintiffs similarly premised a breach of contract claim on a broadly worded

                                   9   provision in Google’s Terms of Service (“users can adjust their privacy settings to control what

                                  10   Google collects and how their information is used”) and an alleged misrepresentation around “the

                                  11   effect of [one] setting specifically.” 514 F.Supp.3d 1147, 1160 (N.D. Cal. 2021) (internal

                                  12   quotation marks and bracketing omitted). Dismissing the claim, the court reasoned that the Terms
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                                  13   of Service provision did “not actually bind Google to offer any particular privacy settings,” and

                                  14   that, to the degree it extended a promise, that promise would only be broken if “[p]laintiffs . . .

                                  15   allege[d] that they had no control whatsoever over their privacy settings[.]” Id. Put briefly, the

                                  16   same logic applies here. At most, the Privacy Policy language identified by plaintiffs obliges

                                  17   Google to (i) provide users with an unspecified level of control over data created in connection

                                  18   with an unspecified number of Google services, and (ii) maintain a “My Activity” hub to that end.

                                  19   Because the SAC omits facts permitting the inference that Google neglected this obligation,

                                  20   plaintiffs cannot rely on the “My Activity” Privacy Policy language to sustain a claim for breach

                                  21   of contract.

                                  22                  2. WAA Help Page

                                  23          Plaintiffs’ alternative effort to come up with a contractual violation, by holding out the

                                  24   WAA Help Page as either its own contract or the incorporated part of another, fares no better.

                                  25   First, regarding the notion that the WAA Help Page functions as an independently enforceable

                                  26   agreement, plaintiffs do not allege their having secured that document’s terms with valid

                                  27   consideration. Nor can they; as the Ninth Circuit has made clear, “[f]or a contract to exist” in this

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                                   1   context, the document needs to “outline shared commitments to which users must abide.” In re

                                   2   Facebook, 956 F.3d at 610. That the WAA Help Page fails to do so (indeed, it asks nothing of

                                   3   users) precludes it from functioning as a standalone contract, plaintiffs’ appeal to an unstated

                                   4   bargain for “user retention” and “goodwill” notwithstanding.3

                                   5           Second, the WAA Help Page is not incorporated by reference into the Privacy Policy, and

                                   6   therefore may not benefit from the Privacy Policy’s incorporation into the Terms of Service.

                                   7   Under California law, “[t]o properly incorporate another document, the document ‘need not recite

                                   8   that it incorporates another document, so long as it guides the reader to the incorporated

                                   9   document.’” Id. (quoting Shaw v. Regents of the Univ. of Cal., 58 Cal.App.4th 44, 54 (1997))

                                  10   (bracketing omitted). While this standard is by no means exacting, it does compel the primary

                                  11   document to at least reference the document sought to be incorporated. See, e.g., id. (“The

                                  12   [primary document] does not reference [the incorporated document] and thus, it does not guide the
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                                  13   reader to the incorporated document[.]”); see also In re Holl, 925 F.3d 1076, 1084 (9th Cir. 2019)

                                  14   (“[T]he incorporation is valid—and the terms of the incorporated document are binding—so long

                                  15   as the incorporation is ‘clear and unequivocal, the reference is called to the attention of the other

                                  16   party and he consents thereto, and the terms of the incorporated document are known or easily

                                  17   available to the contracting parties.’”) (emphasis added) (bracketing omitted) (quoting Shaw, 58

                                  18   Cal.App.4th at 54). Here, the Privacy Policy, via its “learn more here” language, links to the WAA

                                  19   Help Page; but it nowhere references the WAA Help Page. As the absence of any caselaw holding

                                  20   the mere fact of a hyperlink4 sufficient for incorporation confirms, California law requires more.

                                  21   All told, then, and like the Privacy Policy, the WAA Help Page affords plaintiffs no basis to state a

                                  22   viable claim for breach of contract.

                                  23
                                       3
                                        This conclusion holds whether the WAA Help Page is tested as an express or implied contract.
                                  24   See 1 Witkin, Summary of California Law, Contracts § 102 (“The distinction between express and
                                       implied in fact contracts relates only to the manifestation of assent; both types are based upon the
                                  25   expressed or apparent intention of the parties.”). Approached from any angle, the WAA Help
                                       Page’s offer is, on these pleadings, gratuitous.
                                  26
                                       4
                                        As opposed to a hyperlink embedded within language signifying the linked material—e.g., “learn
                                  27   more by visiting the WAA Help Page.”
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                                   1          B. CIPA § 631

                                   2          The SAC’s CIPA § 631 claim is likewise deficient. “Section 631 of CIPA makes it

                                   3   unlawful to use ‘any machine, instrument or contrivance’ to intentionally intercept the content of a

                                   4   communication over any ‘telegraph or telephone wire, line, cable or instrument,’ or to read,

                                   5   attempt to read, or learn the ‘contents or meaning of any message, report, or communication while

                                   6   the same is in transit or passing over any wire, line or cable’ without the consent of all parties to

                                   7   the communication.” In re Yahoo Mail Litigation, 7 F.Supp.3d 1016, 1036 (N.D. Cal. 2014)

                                   8   (quoting Cal. Penal Code § 631(a)). The problem for plaintiffs is with the phrase “while the same

                                   9   is in transit”: whereas the FAC alleged Google simultaneously copied and acquired users’ third-

                                  10   party app communications, the SAC replaces that specific simultaneity with simultaneity between

                                  11   post-copying conduct and the data’s transmission to Google. Compare FAC, Dkt. 60 ¶ at 49

                                  12   (“Google . . . copies that request, and then simultaneously transmits it to Google servers[.]”), with
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                                  13   SAC, Dkt. 113 at ¶ 49 (“Google . . . copies that request, and then while overriding device and

                                  14   account level controls simultaneously transmits the browsing data to Google servers[.]”). Trying

                                  15   to pass this artful addition to the pleadings off as some sort of typographical error, plaintiffs posit

                                  16   that they “could amend their complaint to add back in” the requisite § 631 simultaneity. Insofar as

                                  17   it echoes plaintiffs’ assurance, proffered in opposition to Google’s last motion to dismiss, that they

                                  18   could salvage their since-abandoned “secret scripts” theory, this suggestion is not well taken. The

                                  19   operative complaint, as plaintiffs have drafted it, does not allege Google’s interception of user

                                  20   communications “while the same [are] in transit” to third-party apps. See Cal. Penal Code

                                  21   § 631(a). Plaintiffs’ CIPA § 631 claim is consequently dismissed.

                                  22          C. AdMob, Cloud Messaging

                                  23          Plaintiffs’ AdMob and Cloud Messaging averments, however, are well pled. The SAC

                                  24   provides, in relevant part, that “backdoors” in Firebase facilitate Google’s illicit data collection,

                                  25   and that the interaction of Firebase with GA for Firebase, AdMob, and Cloud Messaging

                                  26   contributes to this arrangement. See SAC, Dkt. 113 at ¶ 6. Of course, there is no denying Google’s

                                  27   position that by “throwing in two other products,” this aspect of the SAC expands the scope of

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                                   1   discovery. What it does not do, though, is somehow deprive Google of the “fair notice . . . of the

                                   2   nature of the claim” needed “to effectively defend against it[.]” See Sensible Foods, LLC, 2011

                                   3   WL 5244716, at *3. Nor, despite Google’s protestations, does Rule 8 predicate plaintiffs’

                                   4   opportunity to locate wrongdoing within a given Google service upon their ability to explain that

                                   5   service’s innermost workings to Google. There is accordingly no cause to dismiss the SAC’s

                                   6   AdMob and Cloud Messaging allegations.

                                   7                                           V. CONCLUSION

                                   8           Consistent with the foregoing, Google’s motion is granted as to the SAC’s breach of

                                   9   contract and CIPA § 631 claims, and denied as to the allegations involving AdMob and Cloud

                                  10   Messaging in the SAC’s three remaining claims (violation of CDAFA, invasion of privacy, and

                                  11   intrusion upon seclusion).5 Should plaintiffs wish to amend their two dismissed claims, they are

                                  12   given leave to do so in a manner strictly honoring the duty to litigate in good faith. Any amended
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                                  13   complaint must be filed within 14 days of the issuance of this order.

                                  14   IT IS SO ORDERED.

                                  15

                                  16   Dated: August 18, 2021

                                  17                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  18                                                   Chief United States District Judge
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                                        The pending administrative motions to file certain materials under seal, see Dkts. 112, 120, are
                                  27   denied pursuant to Local Rule 79-5(e)(1).

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